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                             United States District Court
                                       for the
                             Southern District of Florida

  Kenneth C Griffin, Plaintiff,          )
                                         )
  v.                                     )
                                         ) Civil Action No. 22-24023-Civ-Scola
  Internal Revenue Service and U.S.      )
  Department of the Treasury,            )
  Defendantd.                            )
          Order Requiring Discovery and Scheduling Conference and
          Order Referring Discovery Matters to the Magistrate Judge
        This matter is before the Court upon an independent review of the record.
 It is ordered and adjudged as follows:
     1. The Plaintiff must forward a copy of this Order to every Defendant
 immediately upon the filing of a response to the complaint by a Defendant in this
 case. If a Defendant has removed this action from state court, the removing
 Defendant must immediately forward a copy of this Order to every party who has
 made an appearance in the state court action. Any party with a pending motion
 in the state-court action must separately refile the motion in this Court or the
 Court will not consider the motion.
     2. Within 21 days of the filing of a response to the complaint by a Defendant
 in this matter, the parties must meet and confer regarding discovery and
 scheduling issues, as set out in Federal Rule of Civil Procedure 26(f) and Local
 Rule 16.1(b). If this case was removed from state court, the parties’ discovery
 and scheduling conference must occur within 21 days of this Order.
     3. Within 14 days of the parties’ discovery-and-scheduling conference, the
 parties must file a joint-discovery-plan-and-conference report, as set forth in
 Federal Rule of Civil Procedure 26(f)(3) and Local Rule 16.1(b)(2).
     4. The parties are ordered to disregard the requirements of Local Rule
 16.1 and Federal Rule of Civil Procedure 26(f)(3)(B) regarding any proposed
 deadlines or dates certain. Instead, the parties are to direct their attention to
 the scheduling timelines set forth in Attachments “A” and “B” to this Order. The
 schedule set forth in Attachment “A” will be used if the parties believe the case is
 straight-forward and may benefit from an expedited scheduling track. In most
 other cases, the standard scheduling track in Attachment “B” will be used. The
 parties are therefore directed to advise the Court whether they would prefer to be
 assigned to the expedited (Attachment “A”) or to the standard (Attachment “B”)
 track. If the parties believe that they have good reason to depart from either of
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 these two tracks, or if the parties believe that this case is uniquely complex and
 requires significantly more time (as described in Local Rule 16.1(2)(C)), the
 parties must set out the reasons justifying a more protracted schedule along
 with a proposed schedule. Any such proposed schedule must be submitted in
 substantially the same format as the schedules presented in the Attachments to
 this Order with all proposed date or event deviations italicized. Regardless of any
 proposed changes, the dispositive motions deadline must be set no later than
 four months before the commencement of the proposed trial period and no
 sooner than two weeks after the close of all fact discovery. Any failure to
 comply with the directions in this paragraph may result in the Court
 unilaterally setting the deadlines itself.
     5. General Motion Practice Before the District Judge. Where there are
 multiple Plaintiffs or Defendants, the parties must file joint motions * and
 consolidated responses and replies unless there are clear conflicts of position.
 If conflicts of position exist, the parties must explain the conflicts in their
 separate filings.
     6. Magistrate Judge Referral. By virtue of 28 U.S.C. § 636 and the Magistrate
 Rules of the Local Rules of the Southern District of Florida, the Court refers all
 discovery matters in this case to United States Magistrate Judge Jonathan
 Goodman to take all necessary and proper action as required by law.
     7. Settlement Conference Before Magistrate Judge. The parties may, at any
 time, file a motion requesting a settlement conference before Judge Goodman.
 The Court encourages the parties to consider a confidential settlement
 conference with Judge Goodman, especially if the parties believe there is a
 meaningful chance of reaching an early, amicable resolution of their dispute.
     8. Discovery Motion Procedures. Judge Goodman will enter a separate order
 regarding his discovery procedures.
        Done and ordered in Miami, Florida, on December 16, 2022.

                                                       ________________________________
                                                       Robert N. Scola, Jr.
                                                       United States District Judge

 *
   If multiple Defendants have been served on different days, their deadlines to respond to the
 complaint will likely differ. Therefore, in order to file a joint motion to dismiss the complaint, for
 example, one or more Defendants may need an extension of time to respond to the complaint. To
 that end, those Defendants must confer with opposing counsel, as required by the Local Rules,
 and then seek relief from the Court regarding an appropriate extension. So long as the disparate
 service dates do not result in extensions that will unduly delay the proceedings, the Court will
 accommodate any request that facilitates the joint filing. If any Defendant has not yet been
 served by the time a responsive pleading is due, the parties must advise the Court as to whether
 further extensions may be warranted.
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  Attachment “A”: Example Scheduling Timeline for Expedited Track Cases

  weeks after
  entry of the
  scheduling
     order
   4 weeks       Deadline to join additional parties or to amend pleadings.

                 Deadline to file joint interim status report.
                 Deadline to file Proposed Order Scheduling Mediation, setting forth
   9 weeks       the name of the mediator, and the date, time, and location of the
                 mediation, consistent with the Order of Referral to Mediation (which
                 immediately follows this scheduling order).

                 Deadline to complete all fact discovery.
                 Deadline to submit joint notice indicating whether the parties consent
                 to jurisdiction before the designated magistrate judge for purposes of
                 final disposition.
   14 weeks
                 Deadline to exchange expert witness summaries/reports pursuant to
                 Federal Rule of Civil Procedure 26(a)(2). Rebuttal disclosures are
                 permitted and must conform to the deadline set forth in Federal Rule
                 of Civil Procedure 26(a)(2)(D)(ii).

   16 weeks      Deadline for the filing of all dispositive motions.

                 Deadline to complete mediation, consistent with the Order of Referral
   18 weeks
                 to Mediation (which immediately follows this scheduling order).

   21 weeks      Deadline to complete all expert discovery.
   8 weeks
                 Deadline for the filing of pretrial motions, including motions in limine
   BEFORE
                 and Daubert motions.
 calendar call
   4 weeks       Deadline to file joint pretrial stipulation pursuant to Local Rule 16.1(e)
 BEFORE the      and pretrial disclosures pursuant to Federal Rule of Civil Procedure
  trial date     26(a)(3).

   2 weeks       Deadline to file proposed jury instructions (if the matter is set for a
 BEFORE the      jury trial) or proposed findings of fact and conclusions of law (if the
  trial date     matter is set for a bench trial) pursuant to Local Rule 16.1(k).
   33 weeks
                 Two-week trial period commences (calendar call will be scheduled on
 (approximate)
                 the Tuesday before the trial period)
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   Attachment “B”: Example Scheduling Timeline for Standard Track Cases

    weeks after
    entry of the
    scheduling
       order
     5 weeks       Deadline to join additional parties or to amend pleadings.

     14 weeks      Deadline to file joint interim status report.

                   Deadline to file Proposed Order Scheduling Mediation, setting
                   forth the name of the mediator, and the date, time, and location
     25 weeks
                   of the mediation, consistent with the Order of Referral to
                   Mediation (which immediately follows this scheduling order).

                   Deadline to complete all fact discovery.
                   Deadline to submit joint notice indicating whether the parties
                   consent to jurisdiction before the designated magistrate judge for
                   purposes of final disposition.
     31 weeks
                   Deadline to exchange expert witness summaries/reports
                   pursuant to Federal Rule of Civil Procedure 26(a)(2). Rebuttal
                   disclosures are permitted and must conform to the deadline set
                   forth in Federal Rule of Civil Procedure 26(a)(2)(D)(ii).

     33 weeks      Deadline for the filing of all dispositive motions.

                   Deadline to complete mediation, consistent with the Order of
     35 weeks      Referral to Mediation (which immediately follows this scheduling
                   order).

     40 weeks      Deadline to complete all expert discovery.
     8 weeks
                   Deadline for the filing of pretrial motions, including motions in
     BEFORE
                   limine and Daubert motions.
   calendar call
     4 weeks       Deadline to file joint pretrial stipulation pursuant to Local Rule
   BEFORE the      16.1(e) and pretrial disclosures pursuant to Federal Rule of Civil
    trial date     Procedure 26(a)(3).

     2 weeks       Deadline to file proposed jury instructions (if the matter is set for
   BEFORE the      a jury trial) or proposed findings of fact and conclusions of law (if
    trial date     the matter is set for a bench trial) pursuant to Local Rule 16.1(k).
     49 weeks
                   Two-week trial period commences (calendar call will be scheduled
   (approximate)
                   on the Tuesday before the trial period)
